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                                                                                 FI LED
 UNITED STATES DISTRICT COURT                                                IN CLERK'S OFFICE
 EASTERN DISTRICT OF NEW YORK                                          U.S. DISTRICT COURT E.D.N.Y.
 --------------------X                                                  *     MAY O1 20Zi         *
 MICHAEL W. MCDEVITT,
                                                                        LONG ISLAND OFFICE
                              Plaintiff,                     VERDICT SHEET
                                                             CV 16-4164 (GRB)(ST)
               -against-


 SUFFOLK COUNTY, SUFFOLK COUNTY POLICE
 DEPARTMENT, SUFFOLK COUNTY POLICE
 OFFICER GLENN TARQUINIO, in his individual
 and official capacities, SUFFOLK COUNTY POLICE
 OFFICER ALEJANDRO SANCHEZ, in his individual
 and official capacities, SUFFOLK COUNTY POLICE
 OFFICERS "JOHN AND JANE DOES# 1-1 O," in
 their individual and official capacities,

                              Defendants.

 ------------------------ -------------------------X
        According to the principles of law as instructed by the Court and the facts as you find

 them, please answer the following questions.




                              [CONTINUE ON TO NEXT PAGE]




                                                 1
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   Question 1: id the Plaintiff show, by preponderance               Conclusion: You have
   of the evidenc , that Defendant Suffolk County            NO      found that Defendant
   maintained a ustom, pattern, practice, or policy that             Suffolk County is not
   caused the co stitutional deprivation of the Plaintiffs           liable as to the municipal
   rights?                                                           liability claim. Please
                                                                     sign and date the verdict
                                                                     sheet and return to court.


  Question 2: Pease indicate as to which of the
  following did at custom, practice, pattern or policy,
  relate (please swer for each):

                                               NO

                                               NO

  Ratification of acts of malicious
  prosecution by a policymaker?                NO




Question 3:               ntiff show, by                          Conclusion: You have
preponderanc                 ce, that                             found that Defendant
Defendant Su                  violation of                        Suffolk County is not
constitutional                tely caused                         liable for the municipal
damages to th                                                     liability claim.



  Conclusion: ou have found that Defendant
  Suffolk Coun is liable for the municipal
  liability claim




                                                  2
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 You have reached a verdict.

  FOREPERSON: Please sign and date the Verdict Sheet,          Court by note that
  you have reached a verdict and are ready to announce th t

  Dated: Central Islip, New York
         May_l, 2023




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